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IN THE UNITED sTATEs DISTRICT coURT DSAUG”' AH|U’SZ
FOR THE wEsTERN DISTRICT oF TENNESSEE
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LINDA J. DAVIS,
Plaintiff,
vS` No. 05-2337-Ma/p
FEDERAL EXPRESS,

Defendant.

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ORDER GRANTING MOTION TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
AND
ORDER DIRECTING PLAINTIFF TO AMEND COMPLAINT

 

The plaintiff, Linda J. Davis, has filed a pro §§ employment

discrimination complaint under Title VII, along with motions to

proceed lp forma pauperis and for appointment of counsel. The
motion to proceed ip forma pauperis in GRANTED. The Clerk of

Court is ORDERED to record the defendant as Federal Express. The
Clerk shall not issue process or serve any papers until further
ordered by the Court.

Two statutes authorize the district court to request or
appoint counsel for an indigent Title VII plaintiff. Twenty-eight
U.S.C. § 1915(d) provides that the “court may request an attorney

to represent any such person unable to employ counsel.”l

 

1 However, “§ 1915(d) does not authorize the federal courts to make

coercive appointments of counsel” to represent indigent civil litigants. Mallard
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

 

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Similarly, under 42 U.S.C. § 2000e-5(f)(1), “upon application by

the complainant and in such circumstances as the court may deem

just, the court may appoint an attorney.” However, “[t]here is no
constitutional or .. . statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).

Generally, a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition of exceptional

circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th

 

Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the
Court analyzes the n@rits of the claims, the complexity of the
case, the ppg pp litigant's prior efforts to retain counsel, and
her ability' to present the claims. Henrv 'v. Citv of Detroit
Manpower Dep’t, 763 F.2d 757, 760 (6th Cir. 1985); W'ggins v.
Sargent, 753 F.2d 663, 668 (Bth Cir. 1985).

As a general rule, counsel should be appointed in civil cases
only if a litigant has made “a threshold showing of some likelihood
of merit.” Cooper v. A. Sargenti Co., 877 F.2d 170, 174 (2d Cir.
1989).2 At this stage of the proceedings, before the Court has had

the opportunity to assess the strength of plaintiff’s case, the

 

2 The Second Circuit elaborated: “Courts do not perform a useful
service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent.”
Id.

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Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint counsel at this time. Furthermore, it does
not appear from the affidavit supporting plaintiff's motion that
she will be unable to obtain counsel on her own. The motion for
appointment of counsel is DENIED.

Under 42 U.S.C. § 2000e-5(f)(1), an employee must file a civil
action within ninety days of the receipt of the notice of right to
sue. Davis alleges in the complaint that she filed her charge of
discrimination on May 18, 2000 and received her notice of right to
sue on December 18, 2002. Plaintiff filed this complaint on May
25, 2005. A claimant in a Title VII case must demonstrate to the
Court that the time limit for filing her lawsuit has not expired.
The time limitations for filing Title VII actions, however, are not

jurisdictional and may be tolled. Zioes v. Trans World Airlines,

455 U.S. 385, 393 (1982). But "[e]quitable tolling, or waiver,
is available only in compelling cases which justify a
departure from established procedures." Puckett v. Tennessee

 

Eastman Co., 889 F.2d 1481, 1488 (6th Cir. 1989).

 

If Davis received the right-to-sue letter over ninety days
before May 25, 2005, she must demonstrate good cause for extending
the ninety-day statute of limitations through equitable tolling.
See Irwin v. Dep’t of Veterans Affairs, 498 U.S. 89, 95 (1990);
Banks v. Rockwell Int’l North American Aircraft Operations, 855

F.2d 324, 326 (6th Cir. 1988). A generalized claim of ignorance of

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the proper avenue for pursuing a Title VII remedy is not a basis
for equitable tolling. See Jackson v. Richards Medical Co., 961
F.2d 575, 579 (6th Cir. 1992).

Plaintiff has at this point failed to state a cause of action
under Title VII that would warrant an answer from the defendant.
She is therefore directed to amend her complaint to show she has
filed this complaint within ninety days of receiving her notice or
grounds for the application of equitable tolling of the statute of
limitations. The amendment must be typed or hand-printed on 8 x by
11 inch paper, one side to a sheet. The plaintiff must personally
sign the amendment.

Davis must file an amended complaint within twenty (20) days
of the docketing of this order. A failure to timely comply with
any requirement of this order will result in the dismissal of the
complaint in its entirety. The plaintiff must also keep this Court
informed of her current address. If plaintiff fails to inform the
Court of a change of address, she will not be excused for failing
to comply with the Court's orders and deadlines because an order

was delayed or not delivered.

I'r Is so oRDERED this 'l'q H`day of July, 2005.

MW/"L

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02387 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

Linda J. Davis

3916 Ravenoak Dr.
Apt. 258

1\/1emphis7 TN 38115

Honorable Samuel Mays
US DISTRICT COURT

